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                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK


CORNELIUS EDGERTON, as an                         )
individual                                        )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )          CIVIL ACTION FILE NO.
                                                  )          _______________________
STERLING INFOSYSTEMS, INC., and                   )
DOES 1-10 INCLUSIVE                               )
                                                  )
       Defendant.                                 )

                                           COMPLAINT

       Plaintiff CORNELIUS EDGERTON files this Complaint for Damages and Demand for a

Jury Trial against Defendants STERLING INFOSYSTEMS, INC. and DOES 1-10 inclusive and

respectfully shows the Court the following:

                                    NATURE OF THE ACTION

       1.      Defendant Sterling InfoSystems, Inc. (“Sterling”) is an employment screening

company that furnishes employment screening reports to prospective employers. Its reports

include information related to an applicant’s criminal history.

       2.      Plaintiff applied for employment with three different companies.

       3.      In January 2023, Plaintiff applied for employment to Care.com, an online

marketplace that connects families with caregivers for a variety of needs, including childcare,

senior care, pet care, and housekeeping.

       4.           In January 2023, Plaintiff applied for employment with Rover, a website that

connects pet owners with pet sitters, pet boarders and dog walkers.




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       5.      In June 2023, Plaintiff applied for employment with LiveOps Agent Services, LLC

(“LiveOps”), which provides U.S.-based agent services for insurance, health and human services,

and retail customers.

       6.      In connection with Plaintiff’s job applications, a background check report was

procured by the three different companies and generated by Defendant.

       7.      In the background check reports that Defendant prepared regarding Plaintiff,

Defendant reported multiple felony and misdemeanor convictions.

       8.      Specifically, Defendant reported the following six cases (the “Six Cases”):

               a.       Case Reference Number: 70455CY, a Misdemeanor conviction for Simple

Possession of Marijuana with a pled guilty disposition;

               b.       Case   Reference    Number:       I976139,   a   Felony    conviction      for

Drugs/Manufacture, distribution, etc. cocaine base, 2 nd offense with a pled guilty disposition;

               c.       Case Reference Number: C165338, a Misdemeanor conviction for Driving

While Under ethe Influence – First Offense with a guilty disposition;

               d.       Case Reference Number: C165339, a Misdemeanor conviction for Open

Alcohol Container with a guilty disposition;

               e.       Case Reference Number: F850361, a Felony conviction for Drugs –

Possession of Less Than One Gram of Ice, Crank with a pled guilty disposition;

               f.       Case Reference Number: J030123, a Felony conviction for Trafficking in

Cocaine Base with a pled guilty disposition.

       9.      All of the aforementioned cases do not belong to Plaintiff, as Plaintiff was pardoned

of all charges on November 17, 2016.




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        10.     Under the Fair Credit Reporting Act (“FCRA” 15 USC §1681 et seq.) §1681(e)(b),

Defendant was required to use reasonable procedures to ensure the maximum possible accuracy

of the information reported. Failing to report accurate and up to date information regarding

criminal history is a clear violation of this statute.

        11.     Defendant did not have defined processes to verify the accuracy or current status

of the public record information provided to Care.com, Rover, and LiveOps, because information

related to Plaintiff’s criminal records are a matter of public record.

        12.     Plaintiff is informed, believes, and thereon alleges that Defendant has no procedure

in place to ensure that the criminal history information it furnishes to employers and prospective

employers is accurate.

        13.     As a direct result of Defendant’s failure to verify public records, Plaintiff was

denied employment by Care.com, Rover, and LiveOps.

        14.     Plaintiff suffered and continues to suffer actual damages and emotional distress as

a result of the delayed employment opportunity.

        15.     Accordingly, Plaintiff seeks recovery for his actual damages, including loss of

earnings and emotional distress. Moreover, Plaintiff seeks statutory penalties, punitive damages,

as well as attorney’s fees and costs.



                                              THE PARTIES

        16.     Plaintiff is an individual and a consumer as defined in 15 U.S.C. § 1681(c), residing

in Irmo, South Carolina.

        17.     Defendant is a consumer reporting agency within the meaning of the FCRA,

specifically 15 U.S.C. §1681(a)(f).




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       18.     Defendant Sterling is a consumer reporting agency and holds headquarters at 1

State Street Plaza, 24th Floor, New York, NY 10004.



                                 JURISDICTION AND VENUE

       19.     The Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 because the claims asserted in this civil action arise under the laws of the United

States, specifically 15 U.S.C. § 1681 et seq., which is also known as the Fair Credit Reporting Act

(“FCRA”).

       20.     Venue lies properly in this District pursuant to 28 U.S.C. § 1391(b)(1) and (2).



                                  FIRST CAUSE OF ACTION
                                Violation of 15 U.S.C. § 1681e(b)
       21.     Plaintiff hereby incorporates by reference the allegations of each and every

paragraph above.

       22.     Defendant willfully and/or recklessly violated 15 U.S.C. § 1681e(b) by failing to

maintain reasonable procedures to insure maximum possible accuracy in the consumer report that

it prepared regarding Plaintiff and provided to Care.com, Rover, and LiveOps.

       23.     Defendant’s conduct was willful and/or reckless because the information regarding

Plaintiff is easily verifiable and was a matter of public record; Defendant had no procedure in place

to review those records; Defendant had actual knowledge of its obligations under 15 U.S.C. §

1681e(b); Defendant knew that its failure to accurate information regarding criminal records was

insufficient to assure maximum possible accuracy of the criminal history information reported;

and Defendant knew that consumers, like Plaintiff, would suffer adverse job action and other

damages as a result of its failure to comply with 15 U.S.C. § 1681e(b).



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       24.     Plaintiff is further informed, and believes, and thereon alleges that Defendant failed

to sufficiently conduct audits, reviews, or quality control of the information it reported.

       25.     Alternatively, Plaintiff alleges that Defendant’s violations of 15 U.S.C. § 1681e(b)

were negligent.



                                 SECOND CAUSE OF ACTION
                                Violation of 15 U.S.C. § 1681k(a)
       26.     Plaintiff hereby incorporates by reference the allegations of each and every

paragraph above.

       27.     Plaintiff is informed and believes, and thereon alleges that Defendant willfully

and/or recklessly (1) failed to follow strict procedures to ensure that the criminal history

information in the consumer report that it provided to Care.com, Rover, and LiveOps regarding

Plaintiff was accurate and (2) at the time such public record information was reported to Care.com,

Rover, and LiveOps, failed to notify Plaintiff of the fact that the public record information was

being reported by Defendant, together with the name and address of the person to whom such

information is being reported, thereby violating 15 U.S.C. § 1681k.

       28.     Alternatively, Plaintiff alleges that Defendant’s violations were negligent.



                                  THIRD CAUSE OF ACTION
                                  Violation of 15 U.S.C. § 1681g
       29.     Plaintiff hereby incorporates by reference the allegations of each and every

paragraph above.

       30.     Defendant willfully and/or recklessly violated the above-referenced sections of the

FCRA by not providing Plaintiff with his full file.




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          31.    On or about August 28, 2023, Plaintiff’s counsel sent Sterling Infosystems, Inc. a

file request pursuant to 15 USC 1681g(a)(1) to one of Defendant’s stated addresses at 6150 Oaktree

Blvd, Suite 490. It was sent via certified mail bearing tracking#9589071052700762112703. The

United States Parcel Service confirmed that the file request delivered on August 31, 2023. To date,

Plaintiff has never received a response from Sterling Infosystems, Inc.



                                          PRAYER FOR RELIEF

          a.     The Court conduct a jury trial of all claims asserted herein.

          b.     For statutory, compensatory, special, general, and punitive damages according to

proof and as applicable against Defendant;

          c.     For interest upon such damages as permitted by law;

          d.     For an award of reasonable attorneys’ fees provided by law under all applicable

statutes;

          e.     For the costs of the lawsuit; and

          f.     For such other orders of the Court and further relief as the Court deems just and

proper.


          This 23rd day of August, 2024



    DHF LAW, P.C.                                              /s/ Devin H. Fok
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                                                               Counsel for Plaintiff




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